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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X
                                                                       :
UNITED STATES OF AMERICA,                                              :
                                                                       :
                  -v-                                                  :             19-CR-677 (LTS)
                                                                       :
JALEN DOMINGUEZ,                                                       :
                                                                       :
                                    Defendant.                         :
                                                                       :
---------------------------------------------------------------------- X


                                                     ORDER

                 The bail review hearing in this matter is hereby scheduled to occur as a video

conference using the Skype for Business platform on Friday November 6, 2020, at 2:00 p.m.

                 To optimize the quality of the video feed, only the Court, the Defendant, defense

counsel, the pretrial services officer, and counsel for the Government will appear by video for

the proceeding; all others will participate by telephone. Only one counsel per party may

participate. Co-counsel, members of the press, and the public may access the audio feed of the

hearing by calling 888-363-4734, then using the access code: 1527005, followed by the security

code: 2852.

                 In advance of the hearing, Chambers will email the parties with further

information on how to access the video call. Those participating by video will be provided a link

to be pasted into their browser. The link should be used only at the time of the hearing. To

optimize use of the video conference technology, all those participating by video should:




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           1. Use the most recent version of Firefox, Chrome, or Safari as the web browser. Do
              not use Internet Explorer.

           2. Use hard-wired internet or WiFi. If using WiFi, the device should be positioned
              as close to the Wi-Fi router as possible to ensure a strong signal. (Weak signals
              may cause delays or dropped feeds.)

           3. Minimize the number of others using the same WiFi router during the hearing.

Further, all participants must identify themselves every time they speak, spell any proper names

for the court reporter, and take care not to interrupt or speak over one another. Finally, all of

those accessing the hearing — whether in listen-only mode or otherwise — are reminded that

recording or rebroadcasting of the proceeding is prohibited by law.

               If Skype for Business does not work well enough and the Court decides to

transition to its teleconference line, counsel and the pretrial services officer should call 888-363-

4734 and use access code 1527005# and password 2852#. (Members of the press and public

may call the same number, but will not be permitted to speak during the hearing.) In that event,

and in accordance with the Court’s Emergency Individual Rules and Practices in Light of

COVID-19, counsel should adhere to the following rules and guidelines during the hearing:

           1. Each party should designate a single lawyer to speak on its behalf (including
              when noting the appearances of other counsel on the telephone).

           2. Counsel should use a landline whenever possible, should use a headset instead of
              a speakerphone, and must mute themselves whenever they are not speaking to
              eliminate background noise. In addition, counsel should not use voice-activated
              systems that do not allow the user to know when someone else is trying to speak
              at the same time.

           3. To facilitate an orderly teleconference and the creation of an accurate transcript,
              counsel are required to identify themselves every time they speak. Counsel
              should spell any proper names for the court reporter. Counsel should also take
              special care not to interrupt or speak over one another.




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          4. If there is a beep or chime indicating that a new caller has joined while counsel is
             speaking, counsel should pause to allow the Court to ascertain the identity of the
             new participant and confirm that the court reporter has not been dropped from the
             call.


       SO ORDERED.


Dated: November 5, 2020                                    __/s/ Laura Taylor Swain____
       New York New York                                   LAURA TAYLOR SWAIN
                                                           United States District Judge




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